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              Exhibit A
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Proprietary Interest Protection Agreement[PIPA]
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                        Proprietary Interest Protection Agreement

                        This Agreement is between Candidate ("Employee") and United HealthCare Services, Inc.
                        (together with its affiliates referred to as "UnitedHealth Group”) and is effective as of the
                        date Employee signed it. This Agreement's purpose is to protect UnitedHealth Group's
                        knowledge, expertise, customer relationships and Confidential Information (defined
                        below). The consideration for this Agreement includes:


                        • Employee's employment or promotion, as applicable; and
                        • UnitedHealth Group's agreement to give Employee access to Confidential Information.


                        1. UnitedHealth Group Property

                        A. Assignment of Property Rights. Employee must promptly disclose in writing to
                        UnitedHealth Group all inventions, discoveries, processes, procedures, methods and
                        works of authorship, whether or not patentable or copyrightable, that Employee alone or
                        jointly conceives, makes, discovers, writes or creates, during working hours or on
                        Employee's own time, during this Agreement's term (the “Works”). Employee hereby
                        assigns to UnitedHealth Group all Employee's rights, including copyrights and patent
                        rights, to all Works. Employee must assist UnitedHealth Group as it reasonably requires
                        to perfect, protect, and use its rights to the Works. This provision does not apply to any
                        Work for which no UnitedHealth Group equipment, supplies, facility or trade secret
                        information was used and: (1) which does not relate directly to UnitedHealth Group's
                        business or actual or demonstrably anticipated research or development, or (2) which does
                        not result from any work performed for UnitedHealth Group.

                        B. No Removal of Property. Employee agrees not to remove copies or originals (including
                        digital, electronic, paper or other format) of any documents or other tangible items from
                        UnitedHealth Group's premises, except in the ordinary course of conducting UnitedHealth
                        Group's business. This paragraph does not apply to Employee's personal property.

                        C. Return of Property. Employee agrees to immediately return to UnitedHealth Group,
                        upon employment termination, or at any other prior time at UnitedHealth Group's request,
                        all originals and duplicates of UnitedHealth Group's documents or other property, whether
                        prepared by UnitedHealth Group or Employee, that are in Employee's possession or under
                        Employee's control.


                        2. Confidential Information

                        UnitedHealth Group will give Employee access to confidential, proprietary and trade
                        secret information belonging to UnitedHealth Group (“Confidential Information”).
                        Confidential Information includes, by way of example: inventions; product and marketing
                        plans; business strategies and plans; merger and acquisition targets; financial and pricing
                        information; computer programs, models, databases and source codes; analytical models;
                        and customer, supplier and vendor lists and information. Employee understands that
                        Confidential Information includes not only information contained in written or digitized
                        form, but also information that Employee may commit to memory.

                        Employee agrees to keep confidential all Confidential Information, so long as such
                        information is not generally available to the public, both during and after Employee's
                        employment with UnitedHealth Group. Employee agrees not to disclose or use
                        Confidential Information, either during or after Employee's employment, except as
                        necessary for the performance of Employee's duties for UnitedHealth Group or as
                        consented to in writing by UnitedHealth Group.




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                      3. Restrictive Covenants

                      Employee agrees to the restrictive covenants in this Section in consideration of
                      Employee's employment and UnitedHealth Group's promises in this Agreement, including
                      providing Employee access to Confidential Information. The restrictive covenants in this
                      Section apply during Employee's employment and for 12 months following termination of
                      employment for any reason. Employee agrees that he/she will not, without UnitedHealth
                      Group's prior written consent, directly or indirectly, for Employee or for any other person
                      or entity, as agent, employee, officer, director, consultant, owner, principal, partner or
                      shareholder, or in any other individual or representative capacity, engage in any of the
                      following activities:

                      A. Non-Solicitation. Employee will not:

                      (i) Solicit or conduct business with any business competitive with UnitedHealth Group
                      from any person or entity: (a) who was a UnitedHealth Group provider or customer within
                      the 12 months before Employee's employment termination and with whom Employee had
                      contact regarding UnitedHealth Group's activity, products or services, or for whom
                      Employee provided services or supervised employees who provided those services, or
                      about whom Employee learned Confidential Information during employment related to
                      UnitedHealth Group's provision of products and services to such person or entity, or (b)
                      was a prospective provider or customer UnitedHealth Group solicited within the 12
                      months before Employee's employment termination and with whom Employee had
                      contact for the purposes of soliciting the person or entity to become a provider or
                      customer of UnitedHealth Group, or supervised employees who had those contacts, or
                      about whom Employee learned Confidential Information during employment related to
                      UnitedHealth Group's provision of products and services to such person or entity;

                      (ii) Raid, hire, employ, recruit or solicit any UnitedHealth Group employee or consultant
                      who possesses Confidential Information of UnitedHealth Group to leave UnitedHealth
                      Group to join a competitor;

                      (iii) Induce or influence any UnitedHealth Group employee, consultant, or provider who
                      possesses Confidential Information of UnitedHealth Group to terminate his, her or its
                      employment or other relationship with UnitedHealth Group; or

                      (iv) Assist anyone in any of the activities listed above.

                      Section 3.B below is not applicable to employees who reside in California.

                      B. Non-Competition. Employee will not:

                      (i) Engage in or participate in any activity that competes, directly or indirectly, with any
                      UnitedHealth Group activity, product or service that Employee engaged in, participated
                      in, or had Confidential Information about during Employee's last 36 months of
                      employment with UnitedHealth Group; or

                      (ii) Assist anyone in any of the activities listed above.

                      C. Because UnitedHealth Group's business competes on a nationwide basis, the
                      Employee's obligations under this “Restrictive Covenants” section shall apply on a
                      nationwide basis anywhere in the United States.

                      D. To the extent Employee and UnitedHealth Group agree at any time to enter into
                      separate agreements containing restrictive covenants with different or inconsistent terms
                      than those contained herein, Employee and UnitedHealth Group acknowledge and agree
                      that such different or inconsistent terms shall not in any way affect or have relevance to
                      the Restrictive Covenants contained herein.

                      Employee agrees that the provisions of this Section 3 are reasonable and necessary to




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                             protect the legitimate interests of UnitedHealth Group.

                             4. Nondisparagement

                             Employee agrees not to do or say anything at any time to disparage the character, integrity
                             or business of UnitedHealth Group, or its officers, directors or employees. This paragraph
                             does not apply to any statements made during the course of legal proceedings, or in
                             response to a court order, subpoena or inquiry by a government agency.




                             5. Previous and Future Employers

                             Employee agrees not to disclose to UnitedHealth Group, or use in Employee's employment with
                             UnitedHealth Group, any confidential information and/or trade secrets belonging to others, including prior
                             employers. Employee agrees that Employee is not subject to any restrictive covenants and/or obligations
                             that would prevent Employee from performing Employee's duties with UnitedHealth Group. Employee
                             agrees to provide this Agreement to future employers and agrees that UnitedHealth Group may contact any
                             of Employee's future or prospective employers to inform them of Employee's obligations under this
                             Agreement.

                             6. Miscellaneous

                             A. Injunctive Relief. Employee agrees that if Employee breaches this Agreement: (a) legal remedies will be
                             inadequate; (b) UnitedHealth Group will suffer irreparable harm; and (c) UnitedHealth Group will be
                             entitled to injunctive relief from a court pending any arbitration between the parties. If UnitedHealth Group
                             successfully enforces any part of this Agreement through legal proceedings, Employee agrees to pay
                             UnitedHealth Group's costs and attorneys’ fees reasonably incurred in obtaining such enforcement.

                             B. Assignment Successors. Employee may not assign this Agreement. UnitedHealth Group in its sole
                             discretion may assign this Agreement. Any UnitedHealth Group assignee or successor may enforce this
                             Agreement. Any UnitedHealth Group successor will be deemed to be UnitedHealth Group under this
                             Agreement.

                             C. Amendment. This Agreement may be amended only in a writing signed by the parties.

                             D. Waivers. A party's failure to exercise any right or seek any remedy under this Agreement, or delay in
                             doing so, will not be considered a waiver.

                             E. Severability and Modification. The provisions of this Agreement are severable. If a court or arbitrator
                             determines any of this Agreement's provisions to be unenforceable, in whole or in part, the remainder of this
                             Agreement will be enforceable and binding on the parties. The court or arbitrator may modify any invalid,
                             overbroad or unenforceable term of this Agreement so that such term, as modified, is valid and enforceable
                             under applicable law.

                             F. Dispute Resolution and Remedies. Except as provided in Section 6(A) for injunctive relief, any dispute
                             between the parties relating to this Agreement or to Employee's employment by UnitedHealth Group will be
                             resolved by binding arbitration under UnitedHealth Group's Employment Arbitration Policy, unless such
                             claim is specifically excluded under the terms of that policy.

                             G. Survival. This Agreement will survive the termination of Employee's employment.


                             Agreement Start Date                   02/03/2019

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               I have read and agree to the above         Agreement Completion Date 02/24/2019
                                                                                   Thank You. Your acknowledgement has been
                                                                                   captured. No further action is needed.
             By selecting the "I have read and agree to
             the above" button, you are signing this
             agreement electronically. you agree your
             electronic signature is the legal
             equivalent of your manual signature on
             this Agreement.




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